               2:21-cv-02043-CSB-EIL # 36          Filed: 06/01/23     Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE CENTRAL DISTRICT OF ILLINOIS

BOBBY VINYARD,                               )
                                             )
               Plaintiff,                    )
                                             )
        vs.                                  )       No. 21-2043-CSB-EIL
                                             )
ILLINOIS DEPARTMENT OF                       )
HUMAN SERVICES, and                          )
TAMMY NEMETH                                 )
                                             )
               Defendants.                   )

         PARTIES’ FED. R. CIV. P. 41(a)(1)(A)(ii) STIPULATION OF DISMISSAL

        NOW COMES Plaintiff, BOBBY VINYARD, by his attorney, Paul W. Mollica, and

Defendants, ILLINOIS DEPARTMENT OF HUMAN SERVICES and TAMMY NEMETH, by

their attorney, Kwame Raoul, Attorney General of the State of Illinois, to file this stipulation of

dismissal with prejudice, with all sides assuming their own fees, costs, and expenses.

Thursday, June 1, 2023.

Respectfully submitted,

BOBBY VINYARD,                                       ILLINOIS DEPARTMENT OF HUMAN
                                                     SERVICE AND TAMMY NAMETH,
Plaintiff,                                                 Defendants,

Paul W. Mollica,                                     KWAME RAOUL, Attorney General,
                                                     State of Illinois,
        Attorney for Plaintiff,
                                                            Attorney for Defendants,
By:     s/ Paul W. Mollica
        Equip for Equality                                  By: s/ Salena Young
        20 N. Michigan Ave., Suite 300                      Assistant Attorney General
        Chicago, IL 60602                                   500 South Second Street
        312-895-7350                                        Springfield, IL 62701
        Email: paulm@equipforequality.org                   (217) 785-4555
                                                            Email: Salena.Young@ilag.gov
              2:21-cv-02043-CSB-EIL # 36           Filed: 06/01/23     Page 2 of 2




                                CERTIFICATE OF SERVICE
       I hereby certify that on June 1, 2023, I electronically filed the foregoing Parties’ Fed. R.
Civ. P. 41(a)(1)(A)(ii) Stipulation of Dismissal, with the Clerk of the Court using the CM/ECF
system, which will send notification of same to the following:

                                          Salena Young
                                    Illinois Attorney General
                                    500 South Second Street
                                      Springfield, IL 62701


                                             By:   s/Paul W. Mollica
                                                   Attorney for Plaintiff
